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                      UNITED STATES DISTRICT COURT
                   DISTRICT OF UTAH, CENTRAL DIVISION


RICHARD CHAD RANDALL,                          DEFENDANTS’ REPLY IN
                                              SUPPORT OF MOTION FOR
       Plaintiff(s),                             RECONSIDERATION
                                              OF DENIAL OF SUMMARY
v.                                                  JUDGMENT

STATE OF UTAH, et al.,
                                                  Case No. 4:19-cv-00038
       Defendant.

                                               Judge Honorable David Nuffer


      Defendants Steve Gehrke, Shane Nelson, and Lance Caldwell, through

counsel, hereby submit their reply in support of their Motion for Reconsideration

of Denial of Summary Judgment. Plaintiff Randall’s only remaining claim is a

RLUIPA claim, and whether Defendants’ refusal to allow Randall access to Tarot


                                         1
Compendium violated the state statute is not the same inquiry as whether that

decision violated RLUIPA.

                               LEGAL STANDARD

      Defendants cited Pia v. Supernova Media, Inc., No. 2:09-CV-00840-DN-EJF,

2014 WL 7261014, at *1 (D. Utah Dec. 18, 2014) (unpublished), to establish that,

as a baseline, the Court is not constrained to the standards of Rule 59(e) or Rule

60(b) in reviewing a motion to reconsider an interlocutory ruling. While Pia does

provide additional guidelines for considering a motion for reconsideration, a

district court “can use whatever standard it wants to review a motion to reconsider

an interlocutory order.” SFF-TIR, LLC v. Stephenson, 264 F. Supp. 3d 1148, 1219

(N.D. Okla. 2017); Anderson Living Tr. v. WPX Energy Prod., LLC, 312 F.R.D.

620, 647 (D.N.M. 2015). The district court can “review the earlier ruling de novo

and essentially reanalyze the earlier motion from scratch” or “can review the ruling

de novo but limit its review.” Id. If the Court chooses to follow the guidelines in

Pia, this motion is still appropriate because its purpose is not to merely restate the

party’s initial position nor to state a mere disagreement with the Court’s decision.

Rather, Defendants seek guidance on how the issue of fact about the statutory

definition actually pertains to Randall’s RLUIPA claim. The statute was mentioned

by Defendants but was not the exclusive basis of their denial of Tarot Compendium

and creates a new focus in the suit.

                                           2
                                                  ARGUMENT

           Randall contends that “the question is not, has never been, and will never be:

‘are safety/rehabilitation compelling government interests?’” 1 But this is precisely

the question in this matter, as this is the inquiry the law demands in considering

RLUIPA claims. See 42 U.S.C. § 2000cc–1(a)(1)-(2). Randall asserts that, instead,

the question is whether the denial of Tarot Compendium is connected to the

governmental interests, which Randall is likely pulling from the “rational

connection” language of the Turner test. See Turner v. Safley, 482 U.S. 78 (1987).

Randall’s only remaining claim is a RLUIPA claim, not a First Amendment claim.

Of course, under RLUIPA, the government must show that the burden furthers the

compelling interest, so there must be an element of relatedness. And as Defendants

have established in their Motion for Summary Judgment, denying Randall, a sex

offender, a book with many depictions of nudity, including that of children,

furthers and is thus related to the compelling governmental interests of prison

safety and rehabilitation for several reasons. 2

           Whether Tarot Compendium “features nudity” is not crucial to whether

denying the book furthers the governmental interests. RLUIPA requires inquiry

into “the particular burden the government has placed on the particular claimant



1
    Pl.’s Opp’n to Mot. for Recons. (Doc. 71), at p. 4.
2
    See Defs.’ Mot. for Summ. J. (Doc. 58), at pp. 16–19.

                                                            3
before [the Court].” Yellowbear v. Lampert, 741 F.3d 48, 57 (emphasis added).

Randall is a sex offender inmate, and even if Tarot Compendium does not “feature

nudity,” possession of so many nude depictions would be detrimental to Randall’s

rehabilitation as a sex offender inmate. See Hopkins v. Garcia, No. C21-4010-LTS,

2023 WL 2695102, at *6 (N.D. Iowa Mar. 29, 2023) (unpublished) (finding a

correctional facility to have a “legitimate penological interest” in restricting

counter-therapeutic materials including nudity from entering into a sex offender

treatment facility); Odneal v. Schnell, No. 22CV03107JRTJFD, 2024 WL 95191,

at *5 (D. Minn. Jan. 9, 2024) (D. Minn. Feb. 6, 2024) (“Courts have routinely

found that . . . treatment of sex offenders . . . are all legitimate penological goals

that justify regulating nudity.”)

         Randall also contends that “there is a material dispute between parties that

their blanket ban on all nude depictions has any rational connection to prison safety

and/or rehabilitation.” 3 Again, the “rational connection” language likely stems

from the Turner test, and Randall’s claim is a RLUIPA claim, not a First

Amendment claim. More significantly, Defendants have not argued that there is a

blanket ban on all nude depictions, and Randall did not allege so in his operative

Complaint. 4 As Randall points out, there is an available policy exception, 5 and


3
  Pl.’s Opp’n to Mot. for Recons. (Doc. 71), at p. 3.
4
  Am. Compl. (Doc. 26), at pp. 5, 12–13.
5
  FD03/03.04(B), Martinez Report Ex. 1 (doc. 52-1).

                                                        4
Randall has not provided any objective evidence that this exception is never

applied as he claims. No reasonable jury would find that denying a sex offender

one book replete with nudity amounts to a blanket ban on nudity. There is no

genuine dispute on this issue.

        As for the least-restrictive means, Randall argues again that the only

sufficient alternative scheme is for Defendants to make an exception and give him

Tarot Compendium. The policy exception is considered on a case-by-case basis, 6

and thus Utah Department of Corrections (UDC) officials have discretion on

whether to apply the exception or not. Applying the exception in Randall’s case

would not achieve UDC’s compelling governmental interests, as Defendants have

sufficiently refuted in Defendants’ Motion for Summary Judgment. 7 That

Defendants will not apply the exception to Randall does not mean that the

exception is never applied, and again, Randall has not provided any objective

evidence that this exception is never applied.

        Ultimately, it is not accurate that without the state statute, Randall would

have his book. 8 Defendants never asserted that the state statute was the only basis

for denying Randall access to Tarot Compendium. Even if Tarot Compendium does

not “feature nudity,” Defendants could deny Randall, a sex offender, the book



6
  FD03/03.04(B), Martinez Report Ex. 1 (doc. 52-1).
7
  See Defs.’ Mot. for Summ. J. (Doc. 58), at pp. 20–21.
8
  Pl.’s Opp’n to Mot. for Recons. (Doc. 71), at p. 4.

                                                          5
because doing so furthers the compelling governmental interests of prison safety

and rehabilitation and because offering to provide sufficiently similar texts without

nudity is the least restrictive means to further those interests. Thus, even if there

were a violation of the state statute, Defendants did not violate RLUIPA.

                                   CONCLUSION

      For these reasons and those in Defendants’ Motion for Reconsideration, this

motion should be granted.

      RESPECTFULLY SUBMITTED THIS 16th day of May, 2024.

                           OFFICE OF THE UTAH ATTORNEY GENERAL



                           /s/ Madeline P. Olsen
                           MADELINE P. OLSEN
                           Assistant Utah Attorney General
                           Attorney for Defendants




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                         CERTIFICATE OF MAILING

      I certify that on this 16th day of May 2024, I served the foregoing
DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR
RECONSIDERATION OF DENIAL OF SUMMARY JUDGMENT by placing
a true and correct copy in outgoing, United States mail, postage prepaid, and
marked “Legal Mail” to the following:

Richard C. Randall #133475
Central Utah Correctional Facility
P.O. Box 550
Gunnison, UT 84634



                                      /s/ Sheri D. Bintz




                                         7
